 1      giving any -- given any directions, that you

 2      recall?

 3                   A.       I was not.

 4                   Q.       When did you first learn that

 5      there would be a reduction in force?

 6                   A.       I don't recall.        It was sometime

 7      during that week.

 8                   Q.       Sometime after the 16th?

 9                   A.       Correct.

10                   Q.       Do you think you learned on the

11      16th of the reduction in force?

12                   A.       No.    If the 16th was Monday, no.

13                   Q.       Why are you certain -- why -- why

14      are you certain about that it wasn't on Monday?

15                   A.       Because Lou didn't come to the

16      office.

17                   Q.       Where was Lou?

18                   A.       Working from home.

19                   Q.       When did Lou come to the office

20      for the first time that week?

21                   A.       Tuesday.

22                   Q.       And you -- you -- did you work

23      from home at all during that week?

24                   A.       I did not.

25                   Q.       Did you have a laptop?


                                                                         30
     Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 1 of 36 PageID #: 902
 1                   A.       I did.

 2                   Q.       Was it VPN ready?

 3                   A.       It was not.

 4                   Q.       Did it already have VPN?

 5                   A.       It did not.

 6                   Q.       Did you take the laptop with you

 7      home on a regular basis?

 8                   A.       I did.

 9                   Q.       Did you have a company-issued

10      cell phone?

11                   A.       I did.

12                   Q.       Any other company-issued

13      electronic devices?

14                   A.       No.

15                   Q.       Tuesday, when you came to work,

16      do you recall if Lou came to work Wednesday?

17                   A.       Yes.

18                   Q.       And how about Thursday?

19                   A.       Yes.

20                   Q.       Friday?

21                   A.       Yes.

22                   Q.       Were people wearing masks at all

23      during that week?

24                   A.       No.

25                   Q.       When did the first -- when did


                                                                         31
     Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 2 of 36 PageID #: 903
 1                   A.       I did not.

 2                   Q.       Did you ever have an asthma

 3      attack?

 4                   A.       I did not.

 5                   Q.       Did you know that Christie was a

 6      competitive cheerleader?

 7                   A.       I did.

 8                   Q.       How did you know that?

 9                   A.       She talked about it often.

10                   Q.       And you were a cheerleader as

11      well?

12                   A.       I was.

13                   Q.       Did you guys ever do any, like,

14      cheerleading together?

15                   A.       I did not.

16                   Q.       Did you ever see Christie

17      cheerlead -- cheerlead?

18                   A.       Just what she would share on

19      social media.

20                   Q.       Are you friends with Lou Taylor

21      in social media?

22                   A.       I am.

23                   Q.       What platforms?

24                   A.       Instagram and Twitter.

25                   Q.       When was your 30th birthday?


                                                                         33
     Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 3 of 36 PageID #: 904
 1                   A.       Yes.

 2                   Q.       Okay.     There's been some

 3      discussion about, like, laptops and, like, who had

 4      them and who didn't, right?

 5                   A.       (Witness moves head up and down.)

 6                   Q.       You had a laptop.        Do you know if

 7      Peggy Stephens had a laptop?

 8                   A.       I don't know if she had one then.

 9                   Q.       The people who sat on these four

10      tops, did they have laptops?

11                   A.       I don't recall.

12                   Q.       Do you recall there being

13      desktops?

14                   A.       I don't recall.

15                   Q.       Do you recall there being lots of

16      desktops in other areas on the second floor?

17                   A.       I mean, everyone had a computer.

18      I don't recall if they had a tower, if they had a

19      mini, or if they had a laptop.

20                   Q.       Okay.     So let's kind of

21      establish.        So what do you mean by "mini"?

22                   A.       It's a -- the old school towers

23      are this big (indicating).

24                   Q.       Uh-huh.

25                   A.       And then we have minis now.


                                                                         37
     Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 4 of 36 PageID #: 905
 1                   A.       That's all I recall.

 2                   Q.       And was she a particular type of

 3      TC?

 4                   A.       She was not.

 5                   Q.       Was Chris- --

 6                   A.       Well, business management.           Same

 7      as Christie.

 8                   Q.       I know this may be a little

 9      challenging, but, like, do you recall who was in

10      Christie's team?

11                   A.       Bryan Luecke.       And that's all

12      that I can confidently say was on her team at that

13      time.

14                   Q.       That's -- that's fine.

15                            So he was business manager?

16                   A.       That's correct.

17                   Q.       And then if you can kind of break

18      down the organizational structure within that --

19      within the team.        Like, how does it work?

20                   A.       There's a business manager,

21      occasionally an accounting manager, senior staff,

22      staff, and then a team coordinator.

23                   Q.       And the team coordinator is kind

24      of a compliment to the group?

25                   A.       That's correct.        It is a benefit


                                                                         39
     Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 5 of 36 PageID #: 906
 1                   A.       We had a Touring department at

 2      the time.

 3                   Q.       Okay.     So did the TC have to

 4      coordinate with the Touring department?

 5                   A.       Occasionally, but the Touring

 6      department ran point on all things touring and had

 7      their own admin team.

 8                   Q.       Okay.     And what were the admin

 9      team called there?

10                   A.       There was an executive assistant

11      to the touring director.

12                   Q.       Okay.     Anybody else?

13                   A.       Just Kristen Mir, that did the

14      HR.

15                   Q.       Are what kind of HR stuff was she

16      doing?     I didn't really understand that.

17                   A.       She ran payroll for all the

18      clients' tours, got them on payroll, made sure

19      they were paid, and that was pretty much it.

20      Full-time job at the time.

21                   Q.       You heard Ms. Taylor talk about

22      there being some commission bases; is that fair?

23                   A.       I wasn't in here for Lou's.

24                   Q.       Oh.     Are you aware that touring

25      was based on -- or con- -- the touring services


                                                                         43
     Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 6 of 36 PageID #: 907
 1      2014.

 2                   Q.       And slowly, over time, you --

 3      that -- the size of that department's grown?

 4                   A.       That's correct.

 5                   Q.       Now, there are -- so touring is

 6      one service that y'all provide, but y'all make --

 7      or Tri Star generates fees through providing other

 8      services; is that right?

 9                   A.       That's correct.

10                   Q.       What other services do they

11      provide?

12                   A.       Business management.

13                   Q.       All right.      What else?

14                   A.       Royalties, tax, and concierge

15      family office services.

16                   Q.       Anything else?

17                   A.       That's it.

18                   Q.       Business management, we've kind

19      of gotten the --the structure of the -- the teams,

20      but let's just kind of break down what the

21      accountants do.        What -- do the accountants look

22      at different revenue streams?

23                   A.       They do.

24                   Q.       What are some of the different

25      revenue streams that you're aware of?


                                                                         45
     Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 7 of 36 PageID #: 908
 1                   Q.       Was 2019 a good year or a bad

 2      year financially for Tri Star?

 3                   A.       I am not aware of the financials.

 4                   Q.       Were there layoffs in 2019?

 5                   A.       I don't recall.

 6                   Q.       Were there -- was there hiring in

 7      2019?

 8                   A.       Yes.

 9                   Q.       Going into 2020, y'all were

10      trying to fill a lot of positions, do you recall

11      that?

12                   A.       I do.

13                   Q.       Did you have -- like, as -- as an

14      executive assistant, I assume with being the

15      executive assistant to the CEO, that you also have

16      to cover a lot of areas; is that fair?

17                   A.       Yes.

18                   Q.       Whatever she deals with, you deal

19      with in some form or fashion?

20                   A.       That's correct.

21                   Q.       If she needs something, you're --

22      you're usually the primary conduit to get it; is

23      that fair?

24                   A.       That's correct.

25                   Q.       Your average day, is it -- are


                                                                         47
     Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 8 of 36 PageID #: 909
 1      they longer than normal hours?

 2                   A.       Yes.

 3                   Q.       You can get calls at any point in

 4      the day; is that fair?

 5                   A.       Correct.

 6                   Q.       At night?

 7                   A.       Correct.

 8                   Q.       Did you have any understanding as

 9      to why y'all were -- Tri Star was hiring so much

10      at -- in 2019, or trying to hire?

11                   A.       We were growing.

12                   Q.       Were there any particular new

13      clients that came in?

14                   A.       Yes.

15                   Q.       Were they touring clients?

16                   A.       I don't recall.

17                   Q.       Are most of Tri Star's clients in

18      2019 touring?

19                   A.       Touring made up a large

20      percentage of our clients.

21                   Q.       But you don't know that with

22      respect to financials, do you?

23                   A.       At the time, I did not.

24                   Q.       So when you say touring was a

25      large percentage, you're saying -- what are you


                                                                         48
     Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 9 of 36 PageID #: 910
 1   strong online presence, like TikTok or something

 2   like that, who generate, you know, so much for

 3   each posting, does that money come -- is that

 4   money that's managed by Tri Star?

 5                A.       It is, and depending on their

 6   structure, we would -- if it's -- if they're

 7   commission-based, we would commission off of that.

 8                Q.       There was something that you said

 9   that I wasn't -- I don't think I've heard about.

10   The concierge family office.

11                A.       Uh-huh.

12                Q.       Tell me about that.

13                A.       So, again, having a team

14   coordinator was a benefit of our firm.               Something

15   our competitors don't do.          And the team

16   coordinators offe- -- offered concierge services,

17   that either our competitors don't offer, or if

18   they do, the accountants are doing it.

19                         And so it's calling the dog

20   walker, setting up utilities, changing your

21   address, booking you an appointment at the DMV to

22   get your license renewed, for -- seeing through

23   the process of renewing your passport.               And that

24   is a concierge service that our competitors,

25   again, don't offer, but it is a benefit that we


                                                                     50
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 10 of 36 PageID #: 911
 1   offer our clients.        But not a necessity.

 2                Q.       How long has that concierge

 3   family office component or benefit, as you put it,

 4   been a part of the Tri Star's business model?

 5                A.       The concierge and family office

 6   are two different things.

 7                Q.       Oh, they're two separate things?

 8                A.       Uh-huh.

 9                Q.       I'm sorry, I missed the

10   distinction.

11                A.       Our concierge services have been

12   there since 20- -- at least 2012, when I started.

13                Q.       Okay.     And then the family

14   office?

15                A.       Family office is an -- a term

16   used for accounting to service high net worth

17   individuals.

18                Q.       And give me a basic -- basic

19   explanation of what a family office for high net

20   worth individuals entails with respect to

21   accounting.

22                A.       When you have a family with

23   extreme wealth, family offices services mean we

24   handle everything for them.           Everything you could

25   possibly think of that they touch, we handle.


                                                                     51
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 11 of 36 PageID #: 912
 1                A.       -- that our competitors do not

 2   offer.

 3                Q.       Okay.    So tell me -- that's where

 4   I think I lost you or you lost me.

 5                         What is the concierge service?

 6                A.       Our team coordinators.          They call

 7   the dog walkers, they renew driver's licenses,

 8   they renew passports, they turn on utilities, they

 9   go to the bank and pick up cash and meet the

10   client and give it to them.           Where if you were

11   with a competitor, you do all of that yourself, or

12   the accountant does it, and that's not the best

13   use of an accountant's time.

14                Q.       Are team coord- -- do team

15   coordinators bill?

16                A.       They do.

17                Q.       Did they bill in 2020?

18                A.       They did.

19                Q.       Do you -- can you give me an

20   estimate or a range of what they -- a team

21   coordinator was billed out to clients to?

22                A.       I -- maybe          an hour.

23                Q.       Okay.

24                A.       And probably         percent of their

25   time was billable.        But again, if a client was


                                                                     54
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 12 of 36 PageID #: 913
 1   commission or on a retainer, it didn't matter.                 It

 2   was -- it all rolled up.

 3                Q.       And do you know how much Christie

 4   was making in 2020?

 5                A.       I don't.

 6                Q.       Would you -- I mean, do you have

 7   any idea now what people make?

 8                A.       I do.

 9                Q.       Okay.    Are -- do you still have

10   team coordinators?

11                A.       We do.

12                Q.       And what's the high end of a team

13   coordinator in 20- -- 2022?

14                A.       In Nashville?       73-.

15                Q.       The AMEX liaison position, you're

16   aware of that?

17                A.       I am.

18                Q.       When did you first become aware

19   of the AMEX liaison position or vacancy?

20                A.       There never was a vacancy.

21                Q.       Okay.    When did the -- when did

22   you first become aware of there being an AMEX

23   liaison position being established?

24                A.       I don't recall.

25                Q.       Do you recall that an AMEX


                                                                     55
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 13 of 36 PageID #: 914
 1   liaison position was actually established?

 2                A.       I know that Christie did the

 3   work.

 4                Q.       Did -- was Christie selected for

 5   that position or those responsibilities?

 6                A.       I don't know.

 7                Q.       You just know that she did the

 8   work?

 9                A.       That's correct.

10                Q.       Did she stop being a team

11   coordinator when she became the -- or started

12   doing the work of an AMEX liaison?

13                A.       She did not.

14                Q.       What -- what was the scope of

15   work for -- strike that.

16                         What was the scope of clientele

17   for the AMEX liaison?

18                A.       I don't understand the question.

19                Q.       What clients had acc- -- bas- --

20   what clients would need the services of an AMEX

21   liaison?     All your clients, a subsection of your

22   clients?

23                A.       Any client that had an AMEX.

24                Q.       And let's just say, just for the

25   sake of numbers, you have 100 clients, right?                 Is


                                                                     56
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 14 of 36 PageID #: 915
 1   it -- the number of AMEXes, is it just dependent

 2   on the number of clients, but also the number of

 3   people that work for them and the numbers in the

 4   family affair?

 5                A.       That's correct.

 6                Q.       So do most of your clients -- do

 7   most Tri Star clients have AMEXes?

 8                A.       I don't know.

 9                Q.       There had never been an AMEX

10   liaison person, as far as you know, until Ms.

11   Andrews, and there hasn't been one since?

12                A.       That's correct.

13                Q.       What do you know about the AMEX

14   liaison duties?

15                A.       I know that she -- if there was

16   an issue with someone's card, she's the one that

17   called AMEX.      And to my understanding, that's all

18   she handled as the AMEX liaison at the time.

19                Q.       So she did that for the seven

20   teams that you described?

21                A.       That's correct.

22                Q.       The seven business management

23   teams?

24                A.       That's correct.

25                Q.       So if the client or anybody's --


                                                                     57
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 15 of 36 PageID #: 916
 1   or any client's, whatever dependent, let's put it

 2   that way, needed some help with the AMEX, they

 3   were directed to Christie?

 4                A.       They were not directed to

 5   Christie.

 6                Q.       How was it handled, then?

 7                A.       Internally.      That client would

 8   reach out to their contact within the firm, and

 9   that firm -- person, internally, would talk to

10   Christie.

11                Q.       Why -- what did you see the

12   benefit?     Do you -- why add that step?            Why

13   couldn't that per- -- person or con- -- point of

14   contact handle the AMEX?

15                A.       At the --

16                Q.       Or why is it -- why was that

17   inefficient, I guess?

18                A.       At the time, we had a contact at

19   AMEX that was easy to get ahold of, and Christie

20   had the relationship with him.

21                Q.       What was that?

22                A.       His name was David Rothman.

23                Q.       Rossman [sic]?

24                A.       Rothman.

25                Q.       Rothman.


                                                                     58
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 16 of 36 PageID #: 917
 1                         What was the relationship?           I

 2   don't understand the relationship.             Do you know?

 3                A.       She had his phone number.

 4                Q.       And why was that beneficial for

 5   Tri Star?

 6                A.       Well, it was beneficial that she

 7   had a relationship with him.

 8                Q.       But how -- okay.        Well, how did

 9   that benefit translate to a benefit for Tri Star

10   and Tri Star's clients?

11                A.       She could easily call AMEX and

12   get someone to pick up the phone and unfreeze a

13   card.    However, that relationship was transitioned

14   to every single team coordinator when she left and

15   everyone was given the opportunity to speak with

16   David, including myself.

17                Q.       What do you mean including

18   yourself?

19                A.       If I needed to call him and say:

20   Can you help me with Lou's card, he would pick up

21   the phone.        So we were all privy to his

22   relationship.

23                Q.       So is it -- is it -- I think I

24   heard some -- some reference to VIP Services with

25   AMEX.    Are you familiar with that phrase?


                                                                     59
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 17 of 36 PageID #: 918
 1                         MS. HART:     Object to form.

 2   BY MR. ARCINIEGAS:

 3                Q.       You agree with that?

 4                A.       Yeah, I don't think it was of

 5   substance, which is why it was dispersed to the

 6   teams.

 7                         MR. ARCINIEGAS:       How long we been

 8                going?

 9                         THE COURT REPORTER:         Right at an

10                hour.

11                         MR. ARCINIEGAS:       You guys want to

12                take a break?

13                         MS. HART:     Sure, if you need a

14                break.

15                         MR. ARCINIEGAS:       Yeah, we can

16                take a break.       Let's just take ten

17                minutes.

18                         (Brief recess observed.)

19   BY MR. ARCINIEGAS:

20                Q.       All right.      We're back on the

21   record.

22                         There are some clients that are

23   nontouring; is that fair?

24                A.       Yes.

25                Q.       Okay.    What are some of the


                                                                     62
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 18 of 36 PageID #: 919
 1   nontouring clients?

 2                A.       We have actors.

 3                Q.       Okay.

 4                A.       Actresses, models and high net

 5   worth families.

 6                Q.       In 2020, who were some of the

 7   high net worth families that you know to be

 8   disclosed to the public?

 9                A.       I'm not sure I can share that

10   with my Confidentiality Agreement.

11                         MS. HART:     I'm going to object to

12                relevance of that.        Why does it matter

13                who the clients are?

14                         MR. ARCINIEGAS:       Well, the

15                defense here has been talking about how

16                there was a loss of touring income as

17                the -- you know, without getting --

18                otherwise, I mean, it kind of opens the

19                door for looking at financial

20                information, requesting it or, you know.

21                But I don't want to do that.            I'm trying

22                to get just, like, a basic overall

23                picture of the company in terms of who

24                are high net worth individual families.

25                         MS. HART:     You want to know the


                                                                     63
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 19 of 36 PageID #: 920
Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 20 of 36 PageID #: 921
                              CONFIDENTIAL


 1   structured.

 2                Q.       Okay.

 3                A.       Or the agreement, I should say,

 4   between us and the client.

 5                Q.       And so without getting into the

 6   particulars of a client, that structure could be,

 7   like, at the end of the tour?

 8                A.       It could be at the end of the

 9   tour, it -- it's really dependent on when they get

10   the money and then how our agreement reads with

11   them.

12                Q.       But isn't that part of what the

13   business management group and tour management

14   groups are supposed to do, collect that money?

15                A.       The Touring team is, yes.

16                Q.       Yeah.

17                A.       But it depends on when the venues

18   pay them out and the show promoters.

19                Q.       I mean, most of your clients,

20   isn't it fair to say, want to get paid when they

21   do the shows or before they do the shows?

22                A.       Everyone wants to get paid on

23   time.    It depends on the contract with the show

24   promoter.

25                Q.       So let me ask you this.          Like,


                                                                     67
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 21 of 36 PageID #: 922
 1                Q.       I mean, that's what high net

 2   worth people have, they have multiple teams that

 3   interact with each other; fair?

 4                A.       That's correct.

 5                Q.       I got a bigger version of what we

 6   marked as Plaintiff's Exhibit 1 to the first

 7   deposition.       We're just going to continue

 8   numbering from that point.           But this is just that

 9   same exhibit, just bigger?

10                         MR. ARCINIEGAS:       Do you guys want

11                a copy?

12                         MS. HART:     Sure.     That would be

13                great.    Thank you.

14   BY MR. ARCINIEGAS:

15                Q.       So have you seen what I put in

16   front of you as Plaintiff's Exhibit 1?

17                A.       I have.

18                Q.       Okay.     When did you first see

19   that document?

20                A.       April 2020.

21                Q.       Why did you see it in April of

22   2020?

23                A.       Because I would shepherd

24   information between Lou and Yolanda.

25                Q.       Why were you shepherding this


                                                                     73
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 22 of 36 PageID #: 923
 1   Starlinks.

 2                         And that's -- those systems are

 3   distinct from Litmus?

 4                A.       Litmus is a training platform.

 5                Q.       Okay.    That's all it is?

 6                         Other than Ms. Andrews, can you

 7   think of any other team coordinators that had

 8   laptops in 2020?

 9                A.       I do not.

10                         MS. HART:     Object to the form.

11                She didn't say Ms. Andrews had a laptop.

12   BY MR. ARCINIEGAS:

13                Q.       Were you aware that Ms. Andrews

14   had a laptop in 2020?

15                A.       I was.    For emergencies.

16                Q.       What type of emergencies?

17                A.       AMEX.

18                Q.       Why did she -- Ms. Andrews need a

19   laptop for AMEX emergencies?

20                A.       In case there was an emergency on

21   a night -- on a night or weekend.

22                Q.       And so --

23                A.       So she could e-mail David.

24                Q.       But is it your understanding that

25   the limit of what Ms. Andrews did for people was


                                                                     93
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 23 of 36 PageID #: 924
 1   just sending e-mails through the AMEX?

 2                A.       That is my understanding.

 3                Q.       Okay.     But it might be?       Could

 4   she also have been accessing their actual

 5   accounts?

 6                A.       I don't know.

 7                Q.       When you say "only for

 8   emergencies," did that mean that she was allowed

 9   to take it so in the event of an emergency?

10                A.       That's correct.

11                Q.       So she was allowed to have a

12   laptop at the office and transport it each day to

13   home; fair?

14                A.       That's correct.

15                Q.       And same with you at that time;

16   fair?

17                A.       That's correct.

18                Q.       And when you took your laptop

19   home, would you be able to access Starlinks?

20                A.       I don't recall.

21                Q.       Or OTP?

22                A.       Definitely not OTP.

23                Q.       Were you part of the Starlinks

24   beta group?

25                A.       I was.


                                                                     94
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 24 of 36 PageID #: 925
 1                copy for you.

 2                         MS. HART:     I got it.      Thank you.

 3   BY MR. ARCINIEGAS:

 4                Q.       So this is all about the space

 5   heater or the heating.         Is it called space heater

 6   -- a space heater in 2018.           Were you aware of the

 7   space heater issue in 2018?

 8                A.       I was.

 9                Q.       Do you recall what the policy

10   change was?

11                A.       The policy was changed because

12   space heaters were flipping our breaker.

13                Q.       Flipping?

14                A.       The breaker and killing all of

15   our computer power.

16                Q.       Okay.    And so how was the policy

17   changed, to get rid of them?

18                A.       The policy was to get rid of

19   them.

20                Q.       And then was it changed back to

21   allow them?

22                A.       Only in Christie's area.          And the

23   IT manager Mike moved the plug that it was plugged

24   into to a different circuit so it wouldn't blow

25   those computers.


                                                                     96
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 25 of 36 PageID #: 926
 1                Q.       Okay.    The information that you

 2   received in April of 2019, you then shared with

 3   Lou Taylor?

 4                A.       I'm sure I did.

 5                Q.       And when you shared information

 6   like this, will you also present Lou with a copy

 7   of the e-mail?

 8                A.       If she asks for it.

 9                Q.       Do you recall if she asked for

10   this e-mail chain?

11                A.       I do not remember.

12                Q.       And if she asked for an e-mail,

13   would you print it or forward it to her?

14                A.       It depended on where she was and

15   what she wanted.

16                Q.       So you could have presented Lou

17   Taylor this e-mail, Plaintiff's Exhibit 22, in

18   print format without having to ever forwarded it

19   to her, correct?

20                A.       Yes.

21                Q.       Is there any particular, like,

22   situation where she would prefer it being printed

23   than forwarded, that you can think of?               Like, is

24   there, like, a pattern here?

25                A.       No.


                                                                    103
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 26 of 36 PageID #: 927
 1   or less?

 2                A.       I see that, yes.

 3                Q.       What was the arrival time before

 4   that, do you know?        Like, generally, what's the

 5   expectation?

 6                A.       I don't know.       I believe that the

 7   time -- the expectation was that we were all there

 8   by 9:00.

 9                Q.       Okay.    Something like that?

10                A.       Yeah.

11                Q.       And here it says:        "Any delay

12   beyond 9:30 requires communication via company

13   e-mail identifying an expected time of arrival, as

14   well as any other pertinent information."

15                         Did -- beyond what I just read,

16   do you know, like, the details of what types of

17   pertinent information needed to be provided, if

18   any?

19                A.       Yes.

20                Q.       What type?

21                A.       When she planned to arrive.

22                Q.       Okay.    Thank you.

23                         But I mean, like, the type of --

24   what -- other than the time of arrival, what other

25   information could qualify as pertinent?               Did --


                                                                    105
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 27 of 36 PageID #: 928
 1   to do with accommodations?

 2                A.       No, it's not.

 3                Q.       Okay.    What do you understand

 4   accommo- -- you understand "accommodations" is

 5   kind of a -- has a legal term?

 6                A.       I do.

 7                Q.       For what statute?

 8                A.       Oh, I don't know that.

 9                         MS. HART:     Objection, calls for a

10                legal conclusion.

11   BY MR. ARCINIEGAS:

12                Q.       Are you aware that -- of

13   "accommodation" or "reasonable accommodation"

14   being a phrase in the Americans with Disabilities

15   Act?

16                A.       I am.

17                Q.       Okay.    And then No. 4 says:

18   "Discuss the seriousness of the situation with

19   your healthcare providers and build a support team

20   to help you manage any conditions that are

21   contributing to this behavior."

22                         Did you -- did you understand

23   that -- what health conditions were you aware of,

24   if any, at that time?

25                A.       I was aware that she had sleep


                                                                    107
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 28 of 36 PageID #: 929
 1   issues.

 2                Q.       Okay.

 3                A.       She talked about it.         She had, I

 4   don't know if it was ADD or what, but she used

 5   Adderall and proudly talked about it in the

 6   office.

 7                Q.       Okay.

 8                A.       She had headaches.        But I also

 9   knew, again, based on my own research --

10                Q.       Uh-huh.

11                A.       -- that it wasn't my place to

12   have that conversation with her.

13                Q.       Sure.     I --

14                A.       Yeah.

15                Q.       I respect that.

16                A.       And that goes back to I didn't

17   have conversations with staff and I don't let

18   myself have conversations with staff, because I

19   know what's right and what's not right.

20                Q.       Okay.

21                A.       And so I would not divulge into

22   conversations with her like that.

23                Q.       Wait.     What do you mean

24   "divulge"?

25                A.       I know she would openly talk


                                                                    108
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 29 of 36 PageID #: 930
 1   about health issues with people.

 2                Q.       Right.

 3                A.       I never got into those

 4   conversations with her because I didn't think it

 5   was appropriate.

 6                Q.       Okay.     That's fine.      I just

 7   didn't understand what you meant.

 8                         But -- so are you saying that you

 9   wouldn't divulge that information to Lou Taylor?

10                A.       No.     It's not my place.       That's

11   HR's job, if necessary.

12                Q.       I'm sorry, where are you

13   pointing?

14                A.       I'm just saying --

15                Q.       Oh, okay.     Sorry.

16                A.       If H- -- if it's necessary for

17   Lou to know, HR would tell them.             But Lou also

18   knows it's not her place to know everything about

19   staff when it comes to medical reasons.

20                Q.       What do you mean by that?

21                A.       It's --

22                Q.       That, I'm confused by.

23                A.       If someone has medical issues,

24   it's not the company -- the whole company doesn't

25   have to know about it.          That's between the person


                                                                     109
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 30 of 36 PageID #: 931
 1   and HR.

 2                Q.       But what do you mean "Lou also

 3   knows that," or -- I think that's how you phrased

 4   it.

 5                A.       She knows that -- I mean, she's

 6   not going to ask what her health issues are.

 7                Q.       And that's something that she --

 8   Lou Taylor's communicated to you directly?

 9                A.       No, that is an assumption I have

10   made.

11                Q.       But that knowledge base is based

12   on your personal knowledge not to ask those type

13   of questions or not to -- to divulge that type of

14   information, is based on information you gleaned

15   from the Litmus training --

16                A.       I --

17                Q.       -- or somewhere else?

18                A.       I don't recall.

19                Q.       So it could be the Litmus

20   training?

21                A.       It could be.

22                Q.       Okay.    And No. 5, it says:         "In

23   the absence of any documented -- documented

24   condition, cont- -- continuing to arrive late to

25   work, i.e., outside the hours of 9:00 a.m. and


                                                                      110
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 31 of 36 PageID #: 932
 1   else, like:       Oh, she's running something for a

 2   client or doing something for a client?

 3                A.       He would tell me -- if she was

 4   doing something for a client, he would have told

 5   me.

 6                Q.       Right.    That's what I'm asking.

 7                A.       But nine out of -- nine times out

 8   of ten, it's because she had personal issues that

 9   couldn't get her to work on time.

10                Q.       So you think you asked about this

11   ten times, or more?

12                A.       I don't recall.

13                Q.       Okay.    So what you're saying is

14   -- the things you do recall is that she had some

15   sort ter- -- personal issue when you asked

16   Mr. Luecke, right?

17                A.       That's correct.

18                Q.       Did you ask what type of personal

19   issue?

20                A.       Yes.

21                Q.       Okay.    And what type of personal

22   issues were you told?

23                A.       She slept in.

24                Q.       Okay.

25                A.       She forgot to set her alarm.            She


                                                                    118
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 32 of 36 PageID #: 933
 1                A.       For this.

 2                Q.       Okay.    And the documents you

 3   gathered, did you ever give them to Lou Taylor?

 4                A.       No.

 5                Q.       Who did you give them to?

 6                A.       To Tara Swafford.

 7                Q.       Okay.    Before you delivered them

 8   to counsel, did you -- is there -- is there a set

 9   that you -- is kept on the server still?

10                A.       I don't remember.

11                Q.       So in December of 2021, you were

12   sending these to Ms. Swafford?

13                A.       I was gathering documents as

14   requested.

15                Q.       Yeah, I -- I get that part.

16                A.       So I gathered them, and I had to

17   organize them, and then send them to Tara.

18                Q.       Okay.    And here it says:        "I want

19   to take Christie to 52,5-," right, as of July

20   2019; is that fair?

21                A.       Yes.

22                Q.       And that's Ms. Stephens making

23   that recommendation?

24                A.       That's correct.

25                Q.       So do you know what is meant here


                                                                    125
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 33 of 36 PageID #: 934
 1   in -- on page 161 where it says:             "With her

 2   anniversary date being in August, please add the

 3   paragraph about the loyalty being skipped."

 4                         Do you know what the "loyalty

 5   being skipped" is?

 6                A.       At the time, we received loyalty

 7   raises every year.

 8                Q.       Okay.    So they were skipping the

 9   loyalty raises for Ms. -- for who in this one, do

10   you know?

11                A.       I don't know if they're talking

12   about Christie or

13                Q.       Can you tell by the next

14   sentence, the context of the -- his payroll or

15   anything like that or you'd be guessing?

16                A.       Well, I know that they're talking

17   about Christie in that sentence --

18                Q.       Right.

19                A.       -- but I don't know what they're

20   talking about in the first -- or who they're

21   talking about in the first sentence.

22                Q.       So other than loyalty raises,

23   what other types of raises are you aware of?

24                A.       Performance raises.

25                Q.       Okay.    Any other types of raises?


                                                                    126
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 34 of 36 PageID #: 935
 1                A.       Not that I know of.

 2                Q.       All right.      Let's take a

 3   ten-minute break if that's okay.

 4                         (Brief recess observed.)

 5   BY MR. ARCINIEGAS:

 6                Q.       Ms. Kinder, do you recall

 7   Mr. Luecke ever telling you that some of Ms.

 8   Andrews' absences were related to allergies?

 9                A.       I don't recall.

10                Q.       But if there's e-mails to the --

11   show that he sent them to you, you wouldn't

12   dispute those, correct?

13                A.       That's correct.

14                Q.       Now, do you recall that after Ms.

15   Andrews was terminated, that she -- there was some

16   exchange between her and Ms. Simpson about whether

17   she had quit or whether she had been part of --

18   terminated, or anything like that?

19                A.       I don't recall.

20                Q.       Okay.    Do you recall having any

21   conversations with Lou at that time?

22                A.       About Christie?

23                Q.       Yes.

24                A.       I did not.

25                Q.       How is it that you think that


                                                                    127
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 35 of 36 PageID #: 936
 1   Christie was able to keep her job so long out any

 2   -- with all these performance issues she was

 3   having?

 4                A.       You want to know what I think?

 5                Q.       Yeah.

 6                A.       So in my opinion?

 7                Q.       Yeah.

 8                A.       In my opinion, the company was

 9   very gracious to her.         In my opinion, we liked her

10   personally, myself included.           And in my opinion,

11   we wanted the best for her, and we made every

12   single effort we could to help her perform to her

13   highest ability and to make accommodations for her

14   so that she could perform to her highest ability.

15                Q.       So other than tardiness and

16   absence, what was the problem with her -- with Ms.

17   Andrews' job performance?

18                A.       Because of her tardiness and

19   absences, she would miss deliverables and

20   deadlines.

21                Q.       And where is that documented, if

22   anywhere?

23                A.       It would be documented in her

24   work product or someone taking over and finishing

25   something for her.


                                                                    128
 Case 3:21-cv-00526 Document 49-8 Filed 12/09/22 Page 36 of 36 PageID #: 937
